
PER CURIAM.
We affirm the order summarily denying appellant’s Florida Rule of Criminal Procedure 3.850 motion and certify as a question of great public importance the same question certified in Stretcher v. State, 803 So.2d 813 (Fla. 4th DCA 2001):
WHETHER THE TRIAL COURT OR COUNSEL HAVE A DUTY TO ADVISE A DEFENDANT THAT HIS PLEA IN A PENDING CASE MAY HAVE SENTENCE ENHANCING CONSEQUENCES IF THE DEFENDANT COMMITS A NEW CRIME IN THE FUTURE?
WARNER, STEVENSON and SHAHOOD, JJ., concur.
